Case 2:15-cv-05346-CJC-E Document 438-63 Filed 10/09/20 Page 1 of 3 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29133




                    Exhibit
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment




                                                               Evidence Packet P.0857
Case 2:15-cv-05346-CJC-E Document 438-63 Filed 10/09/20 Page 2 of 3 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29134




                                                                     Evidence Packet P.0858
Case 2:15-cv-05346-CJC-E Document 438-63 Filed 10/09/20 Page 3 of 3 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:29135




                                                                     Evidence Packet P.0859
